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IN THE UNITED STATES DISTRICT COURT FOR THE

MESTERS OUSTRICE OF VIRGINTS CLERK'S OFFICE U.S. DIST. COURT
AT CHARLOTTESVILE, VA
Charlottesville Division FILED
Elizabeth Sines, et al SEP 2 1 2021

Plaintiffs

Vv Case No: 3:17-cv-072-NK

 

Jason Kessler, et al

Defendants

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SUPPLEMENTAL MOTION TO EXCLUDE THE DEPOSITION TESTIMONIES
OF ROBERT ISAACS “BAKER", BRADLEY GRIFFIN, DILLON "HOPPER" IZARRY,
AND THOMAS ROSSEAU PURSUANT TO FED.R.CIV.P. 32(a)

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Comes now the Defendant, Christopher Cantwell, and, he makes this Sup-
plemental Motion To Exclude The Deposition Testimonies Of Robert Isaacs
"Baker", Bradley Griffin, Dillon "Hopper" Izarry, And Thomas Rosseau

Pursuant To Fed.R.Civ.P. 32(a). In support, he states as follows:

1) Cantwell previously attached to his Motion for Extension of Time
to File, which apparently has not been docketed yet with the Court,
though it was filed September 2, 2021, a declaration stating the
conditions under which he has been deprived of discovery by the
Plaintiffs and deprived of access to what discovery he has received

by the Bureau of Prisons and US Marshals Service.

2) Cantwell has now, in the past few days, received access to the doc-
uments released by the Plaintiffs in January 2021, and, has been
reviewing that material as quickly as possible. First Sworn Decla-
ration Of Christopher Cantwell Regarding Plaintiff's Failure To

Notice Depositions("First Cantwell Notice Decl") para 2.

3) Cantwell previously filed with this Court Objections to the Plaint-

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5)

6)

iff5' Witness List in which he noted that the Plaintiffs did not
notice him of any of the depositions they propose to enter into
testimony, and, that they did not disclose most of the witnesses

they have indicated, among other objections.

Based upon Cantwell's review of the discovery to date, he is now
able to supplement his objections by affirmatively averring that
Plaintiff's did not notice him of the depositions of Isaacs, Griffin,
Izarry and Rousseau until months after their depositions had been

taken. First Cantwel?t Notice Decl para 3-4.

Fed.R.Civ.P. 32{a}) allows deposition testimony to be admitted at
trial only if several conditions are met, including:
"(1)(A) the party was present or represented at the taking of the

deposition or had reasonable notice of it."

Because Cantwell was prohibited by Plaintiffs‘ actions from being
present or represented at the depositions and did not have reason-
able notice of it, he now makes this Supplemental Motion To Exclude
The Depositions Testimonies Of Robert Isaacs "Baker", Bradley Grif-
fin, Dillon "Hopper" Izarry and Thomas Rosseau Pursuant To Fed.R.

Civ.P. 32(a).

Respectfully Submitted,

 

 

Christopher. Cantwell
USP-Marion

PQ Box 1000.

Marion, 11: 62959
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CERTIFICATE OF SERVICE

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I hereby certify that this Supplemental Motion To Exctude Deposition
Testimonies was mailed to the Clerk Gf the Court, ist Class Postage Pre-
paid, for posting upon the

ECF, to’ which the other parties are subscribed, and, was handed to
USP-Marion staff members Nathan Simpkins and/or Kathy Hill for elect~

ronic transmission to the Court this 22nd day of September, 2021.

C fas

Christopher Cantwell

 
